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                 IN THE UNITED STATES DISTRICT COURT                      1,\/\Y 31 2022
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ANTHONY STEVEN AGUILAR,               §
                                      §
           Movant,                    §
                                      §
VS.                                   §   NO. 4:21-CV-011-A
                                      §   (NO. 4:05-CR-195-A)
UNITED STATES OF AMERICA,             §
                                      §
           Respondent.                §


                             FINAL JUDGMENT

      Consistent with the court's order signed this date,

      The court ORDERS, ADJUDGES, and DECREES that the motion of

movant, Anthony Steven Aguilar, for compassionate release be,

and is hereby, denied.

      SIGNED May 31, 2022.
